                                                                    SO ORDERED.


                                                                    Dated: May 8, 2022



 1
 2
                                                                    Eddward P. Ballinger Jr., Chief Bankruptcy Judge
 3                                                                  _________________________________

 4

 5

 6                                IN THE UNITED STATES BANKRUPTCY COURT
 7                                        FOR THE DISTRICT OF ARIZONA
 8    In re:                                                    Chapter 11
 9    SPG Hospice, LLC                                          Case No. 2:22-bk-02385-EPB
10                            Debtor.                           ORDER DIRECTING JOINT
                                                                ADMINISTRATION OF CASE
11                                                              WITH CHAPTER 11 CASES OF
                                                                RELATED DEBTORS AND
12                                                              TRANSFERRING CASE
                                                                ASSIGNMENTS
13

14             THIS MATTER came before the Court on the unopposed Motion of Secured Creditor
15   Arizona Bank & Trust, pursuant to Rule 1015, Federal Rules of Bankruptcy Procedure, and
16   Local Rule 1015-1 in the District of Arizona, for joint administration of the above-captioned
17   case of Debtor SPG Hospice, LLC (“Debtor”) with the following Chapter 11 cases:
18             Debtor: Scottsdale Physicians Group, PLC (“Scottsdale PG”); Case No. 2:22-bk-
               02388-MCW (the “Scottsdale PG Case”); and
19
               Debtor: United Telehealth Corp. (“UTC”); Case No. 2:22-02409-SHG (the “UTC
20             Case”)
21   (the ‘Motion”).
22             THE COURT, having reviewed the Motion, hereby finds that it is in the best interests of
23   the Debtors, their respective creditors, as well as the Court, to have the cases jointly
24   administered, and that joint administration will enable these estates to be administered most
25   effectively and economically without any detriment to the respective creditor constituencies of
26   each of the debtors. Therefore IT IS HEREBY ORDERED:
27             1.         The Motion is granted.


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 1             2.         The above-captioned case shall be jointly administered with the Scottsdale PG
 2   Case and the UTC Case for all future proceedings.
 3             3.         The Scottsdale PG Case and the UTC Case are hereby transferred to this Court,
 4   and shall bear the initials of “EPB” at the end of each case number, as shown below.
 5             4.         The following joint administrative form of caption shall be used for all pleadings
 6   and orders in these cases:
 7

 8           In re:                                              Chapter 11
                                                                 (Jointly Administered Under
 9                                                               Case No. 2:22-bk-02385-EPB)

10           SPG HOSPICE, LLC,                                   Case No. 2:22-bk-02385-EPB

11

12
             SCOTTSDALE PHYSICIANS                               Case No. 2:22-bk-02388-EPB
13           GROUP, PLC,

14

15           UNITED TELEHEALTH CORP.,                            Case No. 2:22-bk-02409-EPB

16                                                               [TITLE OF DOCUMENT]
                                              Debtors.           (This matter applies to [name of
17                                                               Debtor])

18             5.         In circumstances where the relief requested in the pleadings pertains to a specific
19   debtor, the caption (under the Title of Document), first paragraph of each pleading or order,
20   shall indicate the specific debtor to which it applies.
21             6.         With the exception of monthly operating reports and proofs of claim, all pleadings
22   shall be filed in, and the cases shall be docketed under, Debtor’s case for all future proceedings,
23   Case No. 2:22-bk-02385-EPB.
24
               DATED AND SIGNED ABOVE.
25

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